












Dismissed and
Memorandum Opinion filed January 7, 2010.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-93-00483-CV

____________

&nbsp;

ENERGY TECHNOLOGY, INC. D/B/A/ ENTEC, Appellant

&nbsp;

V.

&nbsp;

MANNESMANN PIPE &amp; STEEL CORPORATION, Appellee

&nbsp;



&nbsp;

On Appeal from the 129th District Court

Harris County, Texas

Trial Court Cause No. 92-42087

&nbsp;

&nbsp;

&nbsp;



M E M O R
A N D U M &nbsp;O P I N I O N

On July 15, 1993, this court abated this appeal because
appellant petitioned for voluntary bankruptcy in the United States Bankruptcy
Court for the Southern District of Texas, under cause number 93-44543-H2-11.&nbsp; See
Tex. R. App. P. 8.2.








&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Through the Public Access to Court Electronic Records (PACER)
system, the court has learned that the bankruptcy case was closed on July 23,
1999.&nbsp; The parties failed to advise this court of the bankruptcy court action.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; On December 3, 2009, this court issued an order stating that
unless any party to the appeal filed a motion demonstrating good cause to
retain the appeal within twenty days of the date of the order, this appeal
would be dismissed for want of prosecution.&nbsp; See Tex. R. App. P.
42.3(b).&nbsp; No response was filed.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Accordingly, we reinstate the appeal and order it dismissed.

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; PER
CURIAM

&nbsp;

Panel consists of Justices
Frost, Boyce, and Sullivan.





